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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 M&C HOLDINGS DELAWARE                                 Case No. 1:20-cv-00121-SJD-KLL
 PARTNERSHIP, et al.,
                                                       Judge Susan J. Dlott
         Plaintiffs,
                                                       Magistrate Judge Karen L. Litkovitz
 v.

 GREAT AMERICAN INSURANCE
 COMPANY,

         Defendant.


              JOINT STATUS REPORT REGARDING DISCOVERY DISPUTES


         Now come all parties to this case, by and through their respective counsel, and hereby

jointly submit to the Court this Joint Discovery Status Report Regarding Discovery Disputes,

pursuant to the Court’s March 5, 2021 order.

         Subsequent to the hearing, the parties exchanged letters identifying discovery responses

they believed to be deficient, and responding to same. On April 14, 2021, the parties held a detailed

meet and confer addressing each of these items, attended by attorneys Bryce Lenox and David

Ogles for Millennium, and attorneys James Papakirk, Daniel Lebersfeld, and Stephen Dratch for

Great American.

         The parties are pleased to report that they were able to reach a compromise on many of the

items identified in their letters.   As an initial matter, the parties intend to agree to a stipulated

protective order to facilitate exchange of certain allegedly confidential information. The parties

have also reached compromise positions with respect to Great American’s discovery responses to

Millennium’s requests. The parties have also entered into certain compromises with respect to



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Millennium’s responses to discovery responses to Great American’s requests, and have narrowed

the scope of their disagreements.

        However, there remain three categories of discovery disputes: (1) Great American’s

discovery requests concerning the legitimate travel agents; (2) Great American’s discovery

requests concerning Millennium’s communications with Aon; and (3) whether Millennium

properly withheld as privileged certain communications that were sent by or to Aon plc,

Millennium’s outside insurance broker.       The parties have kept open the possibility of further

discussion of these disputes and will inform the Court if there is any resolution with respect to the

same.

        The parties set forth their current respective positions on these issues below:

        GREAT AMERICAN STATES AS FOLLOWS:

        Communications Between Millennium and Aon

        Great American has requested all communications between Millennium and Aon regarding

the claim, although it is still trying to work with Millennium to limit the scope to certain custodians

to lessen the burden on Millennium and to avoid duplicative production. Still, even without these

limitations, those communications are highly relevant to Great American’s defense to

Millennium’s bad faith claim and Millennium’s attempt to avoid the operation of the Policy’s

limitations clause. Millennium has objected on the grounds that, somehow, the information is not

relevant, the request is overly broad, and the request imposes an unreasonable burden. Each of

those objections is specifically addressed below. In light of the substantial discovery that Great

American has provided to date, Great American’s demand to know what Millennium and Aon

were saying to one another in connection with Great American’s investigation is neither overbroad

nor unduly burdensome and is highly relevant.



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       Relevance: As discussed in previous submissions, Millennium’s bad faith claim depends

on whether Great American’s coverage decision, either on the law or the facts, was reasonable,

even if the Court ultimately disagreed with it. Tokles & Son, Inc. v. Midwestern Indemn. Co., 65

Ohio St. 3d 621, 605 N.E.2d 936, 943 (1992) (insurer’s denial of a claim is reasonably justified

when “the claim was fairly debatable and the refusal was premised on either the status of the law

at the time of the denial or the facts that gave rise to the claim”); Retail Ventures, Inc. v. National

Union Fire Ins. Co. of Pittsburgh, PA, 691 F.3d 821, 834 (6th Cir. 2012) (there is “no support”

under Ohio law for the proposition that “an insurer can deny coverage in good faith only if it had

reason to believe that its interpretation was the only reasonable one”) (emphasis in original). And

while the insurer’s subjective intent does not matter, Zoppo v. Homestead Ins. Co. (1994), 71 Ohio

St. 3d 552, 554, 644 N.E.2d 397, 359, as a matter of common sense it is at least relevant to the

reasonableness of the insurer’s disposition of the claim if the insured internally believed the

insurer’s decision was reasonable or defensible, if not actually correct. The information would

also be relevant to the extent Millennium argues delay because the communications would shed

light on Millennium’s own lack of cooperation and its failure to timely submit information material

to the claims investigation. Because Aon acted as Millennium’s “claim recovery specialist,” it is

highly likely that Millennium and Aon discussed, among other things, what impact Millennium’s

conduct had on the claim investigation as well as the impact the legitimate travel agents would

have on the claim and whether it would at least be reasonable for Great American to conclude that

that part of Millennium’s claim was not covered.

       Communications between Aon and Millennium would also be relevant to Millennium’s

claim of waiver with respect to the Policy’s limitations clause, and Great American’s ability to

rebut Millennium’s attempt to avoid the operation of the limitations clause. To the extent Aon



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acted as an intermediary between Millennium and Great American during the claim investigation,

Aon’s communications with Millennium would reveal, among other things, whether Millennium

itself attempted to withhold information from Great American and why Millennium did not bring

suit sooner or attempt to procure a tolling agreement within the two-year limitations period. These

communications would provide insight into the alleged waiver claim and would also reveal why it

took Millennium more than a year to submit its proof of loss, which is directly relevant to any

assertion by Millennium that Great American somehow lulled it into not filing suit earlier.

       Millennium’s Overbreadth Claim:         Millennium asserts that the request is overbroad

because it would encompass communications that do not relate directly to Great American’s

defenses or Millennium’s remaining claims. Therefore, Millennium has asserted that it need only

provide discovery that it unilaterally believes are relevant to its own claims. This is not the

standard. Rather Rule 26(b)(1) permits discovery “regarding any nonprivileged matter that is

relevant to any party’s claim or defense and proportional to the needs of the case . . . .” (Emphasis

added). As described above, communications between Aon and Millennium relating to the claim

undoubtedly meet this standard. This is so, even if the materials produced might encompass

documents that are ultimately not directly relevant to Great American’s defenses as “discovery is

more liberal than the trial setting.” Pizzuti v. Nashville Hospitality Capital, LLC, 2:18-mc-0040,

2018 WL 5303061, at *3 (S.D. Ohio Oct. 25, 2018). Thus, relevance in discovery is guided by

the concern to “prevent ‘fishing expeditions.’” Id. (quoting Conti v. Am. Axle & Mfg., Inc., 326 F.

App’x 900, 907 (6th Cir. 2009).

       There is nothing about Great American’s demands for Millennium’s communications with

Aon that smacks of a fishing expedition. It is quite reasonable to expect that Millennium and Aon

did discuss the terms of the Policy, whether it actually suffered a “loss,” the claim process and



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investigation, and whether information regarding the full scope of Merdis’s theft could be withheld

from Great American. Indeed, Great American’s internal records reflect that Millennium initially

told Great American that the claim did not involve legitimate travel agents, and Millennium did

not deny that it initially made these representations. (See ECF Doc. # 40-2 at PAGEID 461, 474).

Therefore, Great American has reason to believe that Millennium was not disclosing the full extent

of Merdis’s fraud in hopes that Great American would not discover it, which has only become

more likely by Millennium’s continued unwillingness to share that information and in resisting

uncontroversial, straightforward, and targeted discovery demands.

       Millennium’s improper claim of overbreadth is also laid bare by the paucity of documents

it has produced thus far, and its attempts to give the Court a contrary impression. Specifically, in

response to Great American’s “targeted” discovery demands, Millennium produced slightly more

than 600 pages of documents that consist of multiple reproductions of email chains involving Great

American, a handful of internal emails that reflect mundane requests for documents in connection

with the investigation of the claim and hundreds of pages of spreadsheets that Great American

already has. By contrast, Great American has already produced 2714 pages of documents, many

of which reflect Great American’s internal deliberations and will produce additional documents in

accordance with Boone v. Vanliner Ins. Co., 744 N.E.2d 154 (2001). Millennium cannot expect

discovery to remain a one-way street.

       Burden: Given that Millennium’s privilege log already contains a large number of

communications with Aon, it appears that Millennium’s counsel has already reviewed most if not

all of the email traffic between Millennium and Aon. Indeed, Millennium’s representations that

these communications contain extraneous matters makes it reasonable to conclude that virtually

all communications have been reviewed. Nevertheless, Great American is still willing in principle



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to limit the communications to particular custodians from both Aon and Millennium to lessen the

burden of production. Although, the documents that Great American has sought are much more

limited in scope than what it has produced without objection. For Millennium to claim that Great

American’s relatively modest and straightforward discovery it seeks is unduly burdensome would

essentially make a nullity of Rule 26(b)(1).

       Information Regarding Legitimate Travel Agents

       For the sake of clarity, Great American provides the following quote from an email written

by Millennium’s “claim recovery specialist,” Adam Furmansky, on July 22, 2019, and which is

contained in the record at ECF Doc. # 40-2 at PAGEID 476:

                I’ve consulted with the insured, and I’ve confirmed that the
                statement from my February 20, 2019 email answers the
                question. Specifically, ‘ …. Mr. Merdis effectuated his fraud in
                two ways. The first was to change reservations in which no original
                travel agency (TA) was assigned to a booking, to a TA associated
                with himself. The second way in which the fraud was effectuated
                was by Mr. Merdis changing a reservation from one travel agency
                to one of his own (e.g. AMEX Travel changed by Mr. Merdis to
                Annayad).’ All reservations were legitimate. If a TA was entered
                and changed to one of Mr. Merdis’ TA’s, then commissions would
                have been owed prior to the change.

While Great American recognizes that the Court has ruled that there was a “loss” under the Policy

irrespective of the methods described by Mr. Furmansky, additional details regarding those

methods is relevant to Millennium’s bad faith claim and Great American’s limitations defense.

This includes what Millennium knew, when it knew it, what information the insured shared during

the claims process, what information may have been withheld during that process, and what

information it relied on in presenting the claim. An insurer is not the only party required to act in

good faith during the investigation of a claim; the insured has a corresponding duty to cooperate,

to timely furnish accurate information.

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       Thus, Great American seeks basic information relating to “[t]he second way in which the

fraud was effectuated by Mr. Merdis,” which includes: (i) when Millennium first became aware of

the “second way the fraud was effectuated;” (ii) when specifically Millennium contends it first

relayed the existence of the “second way in which the fraud was effectuated” and to identify the

relevant communications; (iii) the dollar amount attributed to each method described by Mr.

Furmanksy; and (iv) what evidence Millennium has to indicate whether those travel agents were

paid for “commissions [that] would have been owed prior to the change.”

       The information sought is relevant to Great American’s defense of the bad faith claim as it

would answer whether Millennium tried to withhold information during the investigation thus

demonstrating its own bad faith and refuting any claim of “bad faith delay.” This information

would also demonstrate that Great American’s factual determinations regarding Millennium’s

claim were not only made in good faith, but were actually correct. It would also potentially

demonstrate Millennium’s own bad faith by making it clear that it has no evidence that it ever paid

the legitimate travel agents for their services, and that it hopes to shift that obligation to Great

American.

       This information is also relevant to Great American’s limitations defense. Specifically,

Millennium must demonstrate that Great American: “performed some act which in and of itself

prevent[ed] [Millennium] from seeking a remedy in the court; mere conversation, negotiation or

discussion is not sufficient unless it deterred [Millennium] from [its] chosen course of action and

misled [it] to the extent that it delayed filing of suit until the limitation period had terminated.”

Sheet Metal & Roofing Contractors Ass’n of Miami Valley, Ohio v. Liskany, 369 F. Supp. 662, 668

(S.D. Ohio 1974). While Great American contends that it did nothing to mislead Millennium,

being able to demonstrate that Millennium knew early on that Merdis’s fraud involved bookings



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from legitimate travel agents, but withheld this information from Great American, would further

bolster Great American’s defenses that (a) Millennium cannot avoid the operation of the Policy’s

limitations clause; (b) there was no unreasonable delay in Great American’s handling of the claim,

and (c) Millennium failed to carry out its own obligations. The information regarding the

legitimate travel agents will otherwise further Great American’s case that its factual determinations

were not made in bad faith and to otherwise create a full record of the scope of Merdis’s scheme

and Millennium’s actions with respect to the legitimate travel agents.

       Nothing about these requests is unduly burdensome. Great American is not seeking

voluminous records regarding the legitimate travel agents and nothing about these requests

requires interviews with numerous Millennium employees. Rather, the relatively small number of

people involved in the investigation from Millennium’s end almost certainly have this basic

information at their disposal. Nevertheless, Great American will consider Millennium’s request to

limit the responses regarding the knowledge of Millennium personnel to its “internal risk

management team” when it knows precisely what individuals make up that group. Otherwise,

Great American sees no reason why Millennium should not respond to these straightforward

requests, other than the concern that to do so would greatly undermine its claims in this litigation.

       Millennium’s Communications With Aon Are Not Privileged

       The majority of documents Millennium has withheld on the basis of the attorney-client

privilege involve communications between Millennium’s broker, Aon, and Millennium’s counsel,

both outside and inhouse. For the reasons described below, Great American respectfully submits

that these communications are not privileged as a matter of law. Alternatively, the Court should

review these communications in camera to determine whether the withheld communications were

made for the purpose of providing Millennium with legal advice.



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       Specifically, Millennium concedes that Aon is a third-party, having taken the position that

Great American must seek discovery directly from Aon via subpoena. Yet, Millennium has also

taken the position in prior correspondence that the inclusion of Aon on attorney-communications

does not constitute a waiver because it “was acting as Millennium’s representative for purpose of

obtaining a recovery on Millennium’s insurance [c]laim” having “played a crucial role in the

adjustment of the claim, was often the sole party communicating with Great American on

Millennium’s behalf, and had information necessary for Millennium attorneys to develop and

furnish legal advice.” Put another way, Aon, who Millennium has interchangeably described as

its “broker” or “claim recovery specialist,” guided Millennium through the claim process and Great

American’s investigation, communicated with Great American on Millennium’s behalf, and

potentially (or likely) advised Millennium with respect to the terms and conditions of the Policy.

       The attorney-client privilege is strictly construed against the asserting party and the burden

is on the asserting party to prove its applicability. Tucker v. CompuDyne Corp., (Ohio App. 8

Dist., 09-04-2014) 18 N.E.3d 836, 2014-Ohio-3818; United States v. Krug, 379 Fed. Appx. 473,

478 (6th Cir. 2010). Communications with a third-party generally result in a waiver of the

attorney-client privilege. Snyder v. Fleetwood RV, Inc., 303 F.R.D. 502, 506 (S.D. Ohio 2014).

While attorney-client communications made in the presence of an agent of either the client or

attorney retain the privilege, Foley v. Poschke, 66 Ohio App. 227, 228 (8th Dist. 1940), the third-

party agent must actually serve as a necessary intermediary or “interpreter” of technical concepts

for the specific purpose of obtaining legal advice from the lawyer. See United States v. Robinson,

5 F. Supp. 3d 933, 938 (S.D. Ohio 2014); In re Behr Dayton Thermal Prods., LLC, 298 F.R.D.

369, 373 (S.D. Ohio 2013) (privilege applies to “agents of an attorney who are assisting in

rendering legal advice to the client”).



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       Based on these principles, courts have squarely rejected Millennium’s claim that a third-

party broker that guides the insured through the claims process and interfaces with the insurer as

Aon did here qualifies as such an agent of any attorney or to render legal advice. Specifically, in

Cellco P’ship v. Certain Underwriters at Lloyd’s London, No. 05-cv-3158, 2006 WL 1320067 (D.

N.J. May 12, 2006), a case remarkably similar to the one at bar, the insured under a crime

protection policy retained Aon to submit a claim on its behalf and to otherwise act as an

intermediary between the insured and the insurer. In subsequent litigation arising out of the denial

of the insured’s claim, the insurer argued that communications between the insured’s counsel and

Aon were improperly withheld as privileged. Id. at *4. The court agreed, ruling that “Aon did not

act as an agent of the attorney or [the insured] for purposes of providing or interpreting legal

advice. While the information and advice provided may have proved helpful, it was not needed to

interpret complex issues in order to provide competent legal advice or to facilitate the attorney-

client relationship.” Id. Other courts have similarly held that third-party parties that assist in the

claims process do not, as a rule, act for the purpose of obtaining legal advice. See, e.g., Cardinal

Aluminum Co. v. Continental Cas. Co., 3:14-CV-857, 2015 WL 4483991, at *3 (W.D. Ky. July

22, 2015) (rejecting claim of privilege for communications between insured and broker where

broker’s role was to guide insured through the claims process); Mt. McKinley Ins. Co. v. Corning

Inc., No. 602454/2002, 2017 WL 1401363, at *8 (N.Y. Sup. Ct. Apr. 17, 2017) (holding

communications between insured’s counsel and broker not privileged where broker was

“responsible for communicating [the insured’s] position to the insurers regarding coverage

matters, negotiating written agreements in the coverage disputes, and for reporting to [insured] and

[insured’s] Legal Department”).




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       During the parties’ meet and confer, Millennium’s counsel cited Home Depot U.S.A., Inc.

v. G&S Inv./Willow Park, L.P., 2001 WL 37121340, at *3 (N.D. Ga. Sept. 27, 2001)

and SavaSeniorCare, LLC v. Starr Indem. & Liab. Co., 2019 WL 9806574, at **9-10 (N.D. Ga.

Oct. 31, 2019) for the proposition that “[c]ourts recognize that attorney communications with

insurance brokers are privileged under these circumstances.” Both of those cases are inapposite

as the communications between counsel and the broker in those cases were meant to guide the

insured’s litigation strategy against the insurer, and hence the communications qualified for work

product privilege protection as well.    See id.    Here, Millennium has never contended the

communications it has withheld had any connection to anticipated litigation as its privilege log

reveals.

       For these reasons, Great American contends that communications between Millennium’s

counsel and Aon are not privileged as a matter of law and certainly not on a wholesale basis. To

the extent the Court believes the privilege even applies, Great American contends that in camera

review of those communications is necessary to determine which ones, if any, reflect the

conveyance of legal advice in any way, especially as the narrative on Millennium’s privilege log

for most document states only that the communications regard the “claim.” Moreover, numerous

withheld communications appear to involve several non-attorney recipients, which supports the

notion that Millennium’s counsel was included on communications as a pretense to claim privilege

where no legal advice was at issue.

       Lastly, Great American reserves the right to compel the disclosure of otherwise privileged

communications if discovery reveals that Millennium acted in bad faith in withholding information

during the claims process. Ohio law recognizes that the insured also owes the insurer a duty of

good faith. See John Hancock Mut. Life Ins. Co. v. Luzio, 123 Ohio St. 616, 630-31 (1931). Great



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American asserts that the holding of Boone v. Vanliner Ins. Co., 744 N.E.2d 154 (2011) ( should

apply with equal force to the insured where there is at least a prima facie showing of bad faith by

the insured.

       Boone v. Vanliner: Great American has agreed to produce documents from its claims file

that it previously withheld on the basis of the attorney-client privilege pursuant to Boone v.

Vanliner. Great American may redact information that reveals specific trial strategies, and

otherwise states that the production of these documents in no way constitutes a waiver of the

attorney-client privilege with respect to other communications, and does not waive the protections

of Ohio Rev. Code § 2317.02 that expressly establishes a “testimonial privilege.”

       MILLENNIUM STATES AS FOLLOWS:

       Millennium briefly notes that Great American has agreed to supplement its disclosure of

attorney-client communications found in its Claims File, pursuant to Boone. Great American has

indicated that it may redact certain information from the supplemental production. Millennium

does not wish to speculate about the nature of the redactions. At this time, Millennium reserves

all rights, including to raise Boone later, upon review of Great American’s supplemental

production, redactions, and supporting privilege logs.

       Third Party Travel Agents.

       Fed. R. Civ. P. 26(b) authorizes discovery only where it is relevant to a claim or defense,

and where it is proportional to the needs of the case. The Court’s order granting partial summary

judgment on the issue of coverage has fully and finally resolved whether Great American could

properly deny coverage based on the “bookkeeping loss” theory – the supposed ground that the

Merdis fraud involved a method that transferred funds to sham entities on account of real bookings

made by legitimate travel agents. As a matter of law, it is irrelevant whether this method was used,



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and irrelevant whether the legitimate travel agents were ever paid commissions on these bookings,

as Millennium need only prove that the funds were Millennium property and transferred as a result

of fraud. [Dkt. 48 at PAGEID# 563-564.]

       Great American’s requests nonetheless continue to pursue this flawed theory, and seek

further information intended to show that legitimate travel agents were not paid, and that Great

American correctly allocated loss as among the method that involved the legitimate travel agents

and the method that did not. Great American also contends it is relevant when Millennium learned

that a method involved legitimate travel agents, as it believes the investigation would have

concluded earlier if the legitimate travel agent method was explained to Great American earlier in

the process.

       Millennium objected to Great American’s requests on grounds of relevance, burden, and

overbreadth. This discovery as framed would require searching through fifteen years of corporate

records on an issue that has no bearing on the triable issues remaining in the case.

       Moreover, many of Great American’s requests as framed purported to require Millennium

to accept that the Claim seeks funds that were misappropriated or diverted from travel agents,

when the Claim seeks only funds that were stolen from Millennium. Millennium was unable to

answer the interrogatories as framed because they required Millennium to assume what it

considered to be false factual and legal premises. Finally, Great American’s interrogatories as

framed seek the knowledge of any employee, agent, or attorney who ever worked for Millennium,

and are not limited to facts that could be obtained from information reasonably available to the

company. (For instance, Great American asks Millennium to swear under oath as to when “You”

discovered that the Merdis fraud misappropriated commissions from legitimate travel agents.

Millennium disagrees that commissions were misappropriated from legitimate travel agents. But



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because “You” is defined to include any employee, and Merdis was an employee, Millennium

would be forced to speculate about when Merdis himself knew what specific methods he used to

defraud Millennium.)

       Millennium attempted to respond to these requests in good faith, based on what factual

information it believed Great American to be seeking. In response to these requests, Millennium

provided documents and data previously furnished to Great American in the lengthy investigation

on this very issue, as well as communications with Great American. These documents show that

Great American had constructive knowledge of both methods in August 2018. Millennium also

produced the data (submitted with the proof of loss in August 2018) in its possession relevant to

allocating the transfers among the two methods. Millennium’s interrogatory responses also state

affirmatively that both parties had at least constructive knowledge of both methods in August 2018.

Further, the parties have exchanged communications showing that Great American raised the issue

of whether Merdis used a method involving legitimate travel agents in February 2019, and further

communications that month in which Millennium confirmed both methods were used. Millennium

has also provided discovery responses showing that, based on a reasonable investigation,

Millennium is unaware of any complaints, demand letters, or lawsuits from legitimate travel agents

alleging they were underpaid or unpaid amounts attributable to bookings implicated by the Merdis

fraud (which is evidence of double payment, as one would expect at least one of the agents to have

complained if they were shortchanged).

       Millennium’s responses are already well beyond what Great American is entitled to receive

under Rule 26. Great American has issued an offer to compromise that continues to go well beyond

the scope of Rule 26, and appears intended to re-litigate the “bookkeeping loss” issue or fish for

ammunition               to              file             an              appeal.              The



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thrust of Great American’s position is that it believes Millennium knew about both methods and

withheld the information from the adjuster, causing delays in the investigation. This is the only

alleged basis for continued discovery into the third party agents. Again, Great American’s theory

falls apart because it had the data communicating the two methods were employed as of August

2018, Great American reviewed this data and communicated its view that two methods were used

in February 2019, and Millennium confirmed that this was the case a short time thereafter.

(February 2019 was months before the date Great American alleges that the policy limitation

period expired, on June 24, 2019.) Further, Millennium also disagrees that this fact has any bearing

on any claim or defense. Millennium’s insurance Claim was covered as a matter of law regardless

of which method Merdis used to steal Millennium’s funds.

       Nonetheless, without waiving its objections or agreeing to further written responses or

document production, Millennium will amend its interrogatory response to provide the date

on or around when Millennium’s internal risk management team formed an actual

understanding that the Merdis fraud employed a method that involved real bookings made

by legitimate travel agents, and will produce non-privileged documents that triggered the

formation of this understanding. Millennium will identify the individual who formed this

actual understanding in its responses. Millennium disagrees with Great American that anything

more than this is required, given the volume of information and data already exchanged on this

topic compared to the limited importance to the triable issues remaining in the case.

       Great American has also suggested that Millennium augment the above proposal to include

answers regarding “the dollar amount that Millennium believes is attributable to each method

Merdis used” and “what specific evidence Millennium has that the legitimate travel agents were

paid.” These topics plainly invade non-triable issues that were decided as a matter of law. It is



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irrelevant how loss was allocated among the method involving legitimate agents and the method

not involving such agents, because in either event the Claim was covered. The entire project of

allocating loss as among one or other method is what Millennium is challenging as wasteful,

unreasonable, and dilatory, as it had no basis in law and was conceived to deprive Millennium of

valid reimbursement for loss.

Communications with Aon

       Great American continues to pursue discovery seeking “all” communications between

Millennium, on one hand, and Aon, on the other, related to the Claim. The Court’s summary

judgment ruling substantially limited the scope of discovery properly directed to Millennium. The

remaining triable issues in the case hinge upon Great American’s words, conduct, and acts, and its

justifications for the same. Requests for communications between Aon and Millennium and that

do not reveal the information actually available to and/or considered by Great American are not

relevant to any claim or defense. Accordingly, Great American’s request is overbroad, not tailored

to obtain relevant evidence, and will be burdensome to respond to because Aon is Millennium’s

insurance broker on other matters unrelated to this Claim.

       Millennium responded in good faith by implementing two constraints: (1) it restricted its

search to pre-denial communications in the possession of Janlyn Mahlman, the person in charge

of Millennium’s risk management functions, and who would have been copied on virtually all

material communications with Aon; and (2) limiting the request by subject matter that Millennium

agreed is within the scope of discovery. Millennium has produced numerous communications

with Aon pursuant to this request, and Great American should have produced all communications

Great American exchanged with Aon by producing its entire Claims File.




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       With respect to the first constraint, Millennium and Great American agreed that

Millennium should expand the scope of its search. Millennium will perform searches for

communications with Aon that are in the possession of at least one additional custodian.

Great American proposed an initial list of custodians prior to the submission of this Report.

Millennium is evaluating that list, and will work to reach a compromise with Great American

before the hearing regarding selection of additional custodian(s). Great American has also

agreed in principle to limit the scope of the request to communications with specific Aon

personnel. Millennium will also work with Great American to focus this list to relevant personnel

who would have engaged in communications about the agreed sub-topics. Millennium intends to

perform industry-standard de-duplication processes over any new custodians to avoid cumulative

and/or unnecessary document review.

       The parties reached an impasse over the second form of constraint, i.e., limiting the request

from “all” communications relating in any way to the Claim, to communications regarding specific

subject matter that target the remaining triable issues. The parties are at an impasse on this issue.

Millennium has repeatedly – in meet and confer and in writing – asked that Great American limit

its request by subject-matter, by some other basis than that the communication relate in some way

to the Claim. Great American has refused to do so. In Millennium’s view, this indicates that

Millennium’s search already properly identified the relevant subject matter of communications

with Aon that are within the scope of discovery, and thus there is no need to respond with

additional topics.

       Great American is not only seeking to re-open the door to its “bookkeeping loss” defense,

but also to all other parts of the claim adjustment process that plainly are not in dispute. Millennium

has explained that many communications with Aon would have related to fact gathering on



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irrelevant issues, such as whether Merdis was an employee and for how long he served in that role,

or whether the funds were actually transferred by Millennium to a third party,facts that are not in

dispute. Great American’s requests do nothing to avoid discovery on such issues. Moreover,

Great American’s interest in this discovery is based upon speculation that specific conversations

occurred, and that if they occurred, could possibly be relevant.         A fishing expedition for

hypothetical discussions is not a proper basis for discovery.

       Finally, Great American has also explained that it could use Millennium’s discussion of

Great American’s coverage position to show that Great American’s interpretation of the Policy

was reasonable. Great American provides no authority showing that the jury may consider such

evidence. Cf. Stefano v. Commodore Cove E., Ltd., 145 Ohio App. 3d 290, 295, 762 N.E.2d 1023,

1026–27 (2001) (denying summary judgment to the insurer on bad faith claim, discussing the

information actually furnished to the insurer and what steps it could have taken once apprised of

the information); CSS Publ'g Co. v. Am. Econ. Ins. Co., 2000-Ohio-1863, 138 Ohio App. 3d 76,

86, 740 N.E.2d 341, 348 (same). Indeed, Millennium’s interpretation was deemed reasonable as

a matter of law, and the Court foreclosed Great American’s contrary interpretation, also as a matter

of law. Great American cannot contradict this ruling by parol evidence from the insured made

years after the policy incepted. Sherock v. Ohio Mun. League Joint Self Ins. Pool, 2004-Ohio-

1515, ¶ 16 (“Where a term is ambiguous, parol evidence is admissible to interpret, but not to

contradict, the express language of the contract.”). Furthermore, Millennium learned of Great

American’s actual coverage position in its denial letter dated December 17, 2019. This affords no

basis for Great American to obtain communications made prior to this time. And because Great

American’s initial coverage letter was directed to Millennium’s attorney and apprised (and

surprised) Millennium of the need for litigation, any discussions with Aon regarding this letter



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would have been led by its external counsel, and would be protected by the attorney work product

doctrine.

       Great American already has in its possession correspondence from Millennium’s attorney

explaining to Great American, prior to filing of suit, that Sixth Circuit case law foreclosed Great

American’s legal position. Great American also has in its possession its response letter showing

that Great American did not change its position when confronted with this authority, but instead

threatened to cause a forfeiture of the entire Claim by invoking the policy limitation clause for the

first time. Great American is not entitled to the work product and deliberation that gave rise to

Millennium’s pre-litigation correspondence.

       Accordingly, Millennium intends to address Great American’s arguments by expanding its

search of custodians with reasonable paramaters as discussed above, and by specifically searching

for non-privileged communications with Aon that may have first triggered an actual understanding

that Merdis employed a method involving legitimate travel agents (as part of the search it will

conduct to amend its interrogatories as noted above). Millennium states that Great American is

not entitled to communications with Aon regarding any other topic.

       Privileged Communications

       Great American contends that Millennium waived privilege over attorney-client

communications that were sent by, to, or copying Aon plc, Millennium’s insurance broker and

claims recovery specialist. Great American’s theory is that Aon plc was a third party, and any

communication with a third party is ipso facto a waiver of privilege.

       Great American is incorrect.        “[P]rivileged communications may be conveyed to

representatives of a corporation without the communications losing their privileged nature.” U.S.

ex. rel. Fry v. The Health All. of Greater Cincinnati, 2009 WL 5033940, at *4-5 (S.D. Ohio Dec.



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11, 2009) (independent contractors); In re Bieter Co., 16 F.3d 929, 938 (8th Cir. 1994)

(consultants); Stafford Trading, Inc. v. Lovely, 2007 WL 611252, at *7 (N.D. Ill. Feb. 22, 2007)

(same); Fosbre v. Las Vegas Sands Corp., 2016 WL 183476, at *5 (D. Nev. Jan. 14, 2016) (same).

Aon plc is an outside consultant for Millennium and was intimately involved in the claim recovery

process. Aon communicated with Great American on Millennium’s behalf during the adjustment

process, and was often the only representative for Millennium present on phone calls and emails

with Great American and/or its representatives.      Inside and outside counsel for Millennium

regularly drew upon Aon’s technical expertise in insurance adjustment and claim recovery, as well

as information that only Aon had with respect to communications with the insurer, to form legal

strategy and advise Plaintiffs, their corporate clients. Millennium’s inside counsel and outside

counsel thus communicated with Aon on a confidential basis to help form and execute legal

strategy, including with respect to communications between Aon and Great American.

       Under these circumstances, Aon was plainly a representative of Millennium in connection

with the communications withheld on Plaintiffs’ privilege logs, and no waiver occurred merely

because Aon plc received or sent the communication in question from or to Millennium attorneys.

       Lacking any argument that privilege was waived because Aon is a third party, Great

American falls back on a position that Aon simply was not important enough to the process to

justify a finding that the communications with Aon retained their privileged character.         It

contended prior to submission of this Report that “[w]hile the information and advice provided

may have proved helpful, it was not needed to interpret complex issues in order to provide

competent legal advice or to facilitate the attorney-client relationship.” However, Great American

cannot prove this contention with any factual support.       As above, Aon’s information was

absolutely required to form legal advice because it was the sole Millennium representative



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communicating with Great American in many instances. Mr. Furmansky, the individual who led

the claim recovery team from Aon, is an attorney himself, which further supports that his views

and expertise were intended to form legal strategy, and not merely to keep the broker in the loop.

Courts have found that attorney communications with their insurance brokers are privileged when

made for these purposes. E.g., Home Depot U.S.A., Inc. v. G&S Inv'rs/Willow Park, L.P., 2001

WL 37121340, at *3 (N.D. Ga. Sept. 27, 2001); SavaSeniorCare, LLC v. Starr Indem. & Liab.

Co., 2019 WL 9806574, at *10 (N.D. Ga. Oct. 31, 2019), report and recommendation adopted,

2019 WL 9809629 (N.D. Ga. Dec. 23, 2019).

        By contrast, the cases cited by Great American generally involve situations where an

insurance broker is copied for mere convenience, not where the broker serves as a recovery

specialist tasked with providing information and expertise needed for inside and outside counsel

to form and provide effective legal advice. For instance, Great American cites Cellco P'ship v.

Certain Underwriters at Lloyd's London, No. CIV.A. 05-3158 (SRC), 2006 WL 1320067, at *3

(D.N.J. May 12, 2006). This case does not consider subsequent cases decided in this district

finding that “[t]he majority of case law” recognizes that an independent contractor serves ‘as a

‘representative’ of [the client] to the degree necessary to establish the attorney-client privilege,’”

the same as if the contractor was an employee. See Fry, 2009 WL 5033940, at *4. Cellco takes

the narrow view that privilege claims require that attorney-client communications “improve the

comprehension of the communications between the attorney and the client,” which appears to be

a more restrictive rule of decision than is typically followed by federal courts. Further, while the

court there ultimately did not find the communications were privileged, this was premised upon a

finding that the advice “was not needed to interpret complex issues in order to provide competent

legal advice or to facilitate the attorney-client relationship.” If afforded the opportunity, Plaintiffs



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would intend to establish that Aon’s involvement was necessary to provide competent legal advice

and facilitate the attorney-client relationship, and that Aon was the representative translating the

insurer’s communications to Millennium’s attorneys, and vice versa. See also Mt. McKinley Ins.

Co. v. Corning Inc., No. 602454/2002, 2017 WL 1401363, at *9 (N.Y. Sup. Ct. Apr. 17, 2017)

(case cited by Great American, indicating that privilege could extend to insurance brokers where

facts showed brokers were de facto employees); Cardinal Aluminum Co. v. Cont'l Cas. Co., No.

3:14-CV-857-TBR-LLK, 2015 WL 4483991, at *3 (W.D. Ky. July 22, 2015) (case cited by Great

American, in which party claimed that insurance broker communications regarding negotiation of

insurance policy were privileged, nor because the broker was a recipient of communications

between the client and its attorney).

       Millennium notes that it has not taken an extreme position with respect to withholding

communications in the presence of Aon. Millennium has produced numerous communications

with Aon, and is not asserting, as do many insureds, that a communication is protected because it

is with Aon. Millennium is merely asserting that otherwise privileged communications do not lose

their privileged character merely because Aon received or sent the communication, given the

circumstances of Aon’s engagement, and the nature of the communications, and their purpose.

       Millennium doubts that the parties will reach a full agreement on this issue. However,

Millennium continues to believe that the dispute is not ripe for adjudication, as Great American’s

position ultimately rests upon the factual premise that Aon had no role in forming Plaintiffs’ legal

strategy, and was merely a bystander copied for convenience or mere business advice. The factual

record is undeveloped on this issue, and Millennium should have an opportunity to submit

evidence and fulsome briefing in support of its privilege claims prior to any decision to compel

documents.



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       Furthermore, during meet and confer, Millennium informed Great American that it

intends to amend its privilege logs to show or illuminate the reason why Aon was included

on each withheld communication to which Aon was a party (other than those that assert

work product protection – Great American does not challenge these entries), to the extent it

can do so without disclosing privileged information. Millennium also intends to review its

privilege claims for the challenged communications on a document-by-document basis, in

light of Great American’s authorities and legal position. This subsequent review may well

narrow the scope of the dispute between the parties, as well as the scope of any in camera review

the Court may wish to conduct. Thus, Millennium believes that it is premature to decide this legal

issue in Great American’s favor.




Respectfully submitted,

Dated: April 19, 2021

 /s/ Daniel Dorfman                               /s/ Daniel Lebersfeld
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